Case: 5:15-cr-00026-KKC-EBA        Doc #: 162 Filed: 04/04/19       Page: 1Eastern
                                                                            of 1 - District
                                                                                   Page of Kentucky
                                      ID#: 657                                   FILED
                                                                                APR 0 4 2019
                        UNITED STATES DISTRICT COURT                              AT LEXINGTON
                        EASTERN DISTRICT OF KENTUCKY                            ROBERT R. CARR
                                                                            CLERK U.S. DISTRICT COURT
                              CENTRAL DIVISION
                                a t LEXINGTON

 UNITED STATES OF AMERICA,                          CRIMINAL NO. 5:15-26-KKC
      Plaintiff,

 v.                                                            ORDER

 WILLIAM LYKINS,
      Defendant.


                                      *** *** ***
      This matter is before the Court on the Defendant's Motion to Vacate under 28 U.S .C.

§ 2255 (DE 138) and United States Magistrate Judge Edward B. Atkins's Recommended

Disposition (DE 159). Judge Atkins r ecommended that the Defendant's Motion be denied.

(DE 159 at 10.) No objections have been filed as to his recommendations. The Court, after

r eviewing the Defendants Motion and applicable law, agrees with Judge Atkins's

Recommended Disposition.

      Accordingly, the Court, being sufficiently advised, HEREBY ORDERS as follows:

      (1) Judge Atkins's Recommended Disposition (DE 159) is ADOPTED as the Court's

          op1n10n.

      (2) The Defendant's Motion to Vacate under 28 U.S.C. § 2255 (DE 138) is DENIED.

      (3) A Certificate of Appealability SHALL NOT ISSUE because the Defendant has

         not made a substantial showing of the denial of a Constitutional right. See 28

         U.S.C. § 2253(c)(3).

      (4) A separate Judgment shall issue.

      Dated April 4, 2019.
